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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    Virginia L. Giuffre,
                                      Plaintiff,
                                                                                            CY_ __   _   _

                  -against-
                                                                              MOTION FOR ADMISSION
    Ghi slaine Maxwell,                                                         PRO HAC VICE
                                     Defendant.



         Pursuant to Rule 1.3 of the Local Rules of the United States Courts fo r the Southern and Eastern

Districts of New York, I        Sigrid S. Mc_C_a_w_le-=-y_ _ _ _ _ _ _ _ __              - ·' hereby move this Court

fo r an Order fo r admission to practice Pro Hae V ice to appear as counsel fo r

__P_Ia_i1_1t_if_f,_V_i_rg_i_ni_a_L_._G_i_u f_fr_e_ _ _ _ - - - - - in the above-captioned action.

         I am in good standing of the bar(s) of the state(s) of
   Florida
 _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ and there are no pendi ng disciplinary proceedings against

me in any state or federal court.

Dated: September 2 1, 2015                                       Respectfull y Submitted,




                                     Applicant Signature

                                     Applicant's Name: Sigrid S. McCawley

                                     Firm Name :      Boies, Schiller & Flexner LLP

                                     Address :      40 I East Las Olas Boulevard, Suite 1200

                                     C ity I State / Zip :   Fort Lauderdale, FL 3330 I

                                     Telephone I Fax: Tel: (954) 356-00 11 I Fax: (954) 356-0022

                                     E-Mai l:      smccawley@bsfll p.com
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                                The Florida Bar
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EXECUTIVE DIRECTOR                                                                    www.FLORlDABAR.ORG




      State of Florida      )

      County of Leon        )


                                                    In Re:   129305
                                                             Sigrid Stone Mccawley
                                                             Boies Schiller & Flexner, LLP
                                                             40 I E. Las Olas Blvd., Ste" 1200
                                                             Fort Lauderdale, FL


      I HEREBY CERTIFY that I am the duly appointed custodian of membership records of The
      Florida Bar.

      I FURTHER CERTIFY that the records in the office of the Clerk of the Supreme Court of
      Florida indicate that said attorney was admitted to practice law in the State of Florida on
      November 6, 1997.

      I FURTHER CERTIFY that the records in the office of The Florida Bar indicate that the above
      attorney is an active member of The Florida Bar in good standing.

      Dated this f S+     day of September, 2015.




      Pam Gerard
      Membership Records Manager
      The Florida Bar

      PG/LK/ssT I :RI 0
